
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
| Respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline in which respondent admitted that he practiced law while ineligible to do so. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Philip Montelepre, Louisiana Bar Roll number 9562, be publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
